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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRIC'I` OF PENNSYLVANIA

 

LAVERNA PEAY
1 Jarnie Ct.
Clernington, NJ 08021
CIVIL ACTION
Plaintiff,
No.:
v.

ARAMARK CORPORATION :
d/b/a ARAMARK FACILITIES : JURY TRIAL DEMANDED
1101 Market St. '
Philadelphia, PA 19107
and
U`NIVERSITY OF PENNSYLVANIA
3101 Walnut St.
Philadelphia, PA 19104

Defendant.

 

CIVIL ACTION COMPLAINT

Plaintiff, Lavema Peay, by and through her undersigned connsel, hereby avers as follows:

1. ' INTRGDUCTIQN

l. Plaintiff has initiated this action to redress violations by Ararnarl< Corporation and

the University of Pennsylvania (hereina_)?er collectively referred to as “Defendants” unless

indicated otherwise) of the Age Discrimination in Ernployrnent Act (“ADEA” ~ 29 U.S.C. §§

621 et. seq.), Title VII cf the Civll Rights Act of 1964, (“Title Vll” - 42 U.S.C. §§ 2000d et.

seq.), 42 U.S.C. §1981, and the Pennsylvania Hurnan Relations Act (“PI~IRA”).l Plaintlff was

subjected to discrimination based on her advanced age and race and She suffered damages more

fully described/sought herein

 

§ Plaintiff will move to amend her instant lawsuit to include a claim under the PHRA once her administrative
remedies are fully exhausted with the Pennsylvania Human Relations Commission. Any claims under the PHRA

though would mirror the instant ADEA and Title VII claims identically.

 

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`II. JURIS]_)ICTION AND VENUE

2. This Conrt, in accordance with 28 U.S.C. § 1331 has jurisdiction over Plaintift’s
claims because this civil action arises under iaws of the United States.

3o 'I`his Court may properly maintain personal jurisdiction over Defendants because
Defendants’ contacts with this state and this judicial district are sufficient for the exercise of
jurisdiction over i)et`endants to comply with traditional notions of fair play and substantial
justice, satisfying the standard set forth by the United States Suprerne Court in International Shoe
Co. v. Washington. 326 U.S. 310 (1945) and its progeny

4. Pursuant to 28 U.S.C. § i391(b)(1) and (‘o)(Z), venue is properly laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judicial district, and in addition, Defendants are deemed to reside where they are subject
to personal jurisdiction rendering Defendants residents of the Eastern District of Pennsylvania.

5. Plaintiff is proceeding herein under the ADEA and Title VII and has properly
exhausted her administrative remedies with respect to such claims by timely filing a Charge of
_Discrimination with the Equal Ernployrnent O_pportunity Cornmission (_“EEOC") and by filing

the instant lawsuit Within ninety (90) days of receiving a notice of dismissal and/or right to sue

letter from the E_EOC.
III. PARTIES
6. ’l`he foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
7. Plaintiff is an adult individual, with an address as set forth in the caption
8. Defendant Ararnarl< (hereinafzer “Defendant”) is a corporation with a location at

the above~captioned address which provides food service, facilities and uniform services to

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hospitals, universities, school districts, stadiums and other businesses around the world,
including the University of Pennsylvania (where Plaintiff physically worked).

9. Defendant University of Pennsylvania (“Defendant UOP”) is a university located
in Philadelphia, Pennsylvania.

10. Plaintiff physically worked at Defendant UOP in Philadelphia, PA for
approximately 2.5 years and was placed there through a contractor service company called SSC
Service Solutions/Cornpass Gronp, USA. However, even though she was paid SSC Service
Solutions/Compass Group, USA during her tenure with Det`endant UOP, she was still treated in
all functional respects like an employee while working within Defendant UOP. For example,
Det`endant UOP’s management had the ability to recommend discipline to Plaintiff, give
directive to Plaintiff, and have input in managerial decisions regarding Plaintifi’s employment
Thus, for the foregoing reasons, Defendant UOP may be treated as a single and/or joint employer
for purposes of the instant action.

ll. In or about the Spring of 2016, Det`endant Ararnark was announced as the new
service contractor for Defendant UOP, beginning on or about July 1, 2016.

12. When Defendant Aramark became the new service contractor for Defendant
UOP, Defendant Ararnark and Det`endant UOP jointly made decisions regarding the continued
employment of SSC Service Solutions/Compass Group, USA employees, including Plaintiff.

13. Therefore, based on the foregoing Defendant Ararnark may be treated as a single
and/or joint employer for purposes of the instant action.

14. At all times relevant herein, Defendants acted by and through their agents,
servants and empioyees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

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IV. FACTUAL BACKGROUND

15. Tlie foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

16. Plaintiff is a 57~year-old Aiiican-Arnerican (blacl<) female

17. Since in or about December of 201 3, Plaintif:t` was employed and paid by a service
contractor company called SSC Service Solutions/Compass Group, USA; however, she was
physically working at Defendant UOP as a housekeeping supervisor.

18. Plaintift` had physically worked at Defendant UOP for approximately 2.5 years,
‘Wherein she was given directive by Defendants’ management and wherein Defendant’s UOP’s
management had input regarding managerial decisions pertaining to Plaintifi’ s employment

19. While employed as a housekeeping supervisor, Wendy Sparks - Director of
Housekeeping for Defendant UOP W had input in employment decisions regarding Plaintiff and
other employees of SSC Service Solutions/Compass Group, USA, including but not limited to
assignments, directives, discipline, and termination

20. During the time period that Ms. Sparks was Director of Housekeeping (from in or
about July of 2014 through Plaintiff’s separation in or about June of 2016), she exhibited
discriminatory animus and hostility towards older and_Afr_ican_-American/black__wo_r_kers._ For
exarnple, unlike non-black and younger employees, Ms. Sparks would treat older and African-
American (black) employees in a rude and condescending manner, belittle them, and attempt to
find reasons to discipline and/or terminate them Plaintiff did not observe younger and/or
Caucasianlnon-black employees being treated in the same manner.

21. ln or about May of 2016, Plaintiff was informed that Defendant Ararnark would

be the new service contractor for Defendant UOP starting on or about July l, 2016.

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22. Despite the fact that Plaintiffhad worked at Defendant UOP for 2.5 years and had
a solid work history, she was not retained and/or hired by Defendants; however, younger,
Caucasian employees, who held the same or similar job as Plaintiff, were retained. In addition,
younger, Caucasian individuals were also hired from outside of SSC Service Solutions/Compass
Group, USA to till vacant positions that older and/or African-American (black) employees of
SSC Service Solutions/Compass Group, USA used to hold.

23. There were multiple other employees of SSC Service Solutions/Compass Group,
USA who were African»American (blaclc) and/or over the age of 40 who were also not retained
despite their skills, work ethic, and seniority

24. Upon information and belief, Defendant UOP, specifically Ms. Sparks, directly
participated in Defendant Aramark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Solutions/Compass Group, USA when
Defendant Aramark was awarded the service contract with Defendant UOP.

25. Upon further information and belief, Defendants did not consider seniority,
discipline, or other neutral criteria and hired/retained younger and/or Caucasian employees to fill
vacant positions that older and/or African-Arnericanfblack employees used to hold.

26. Plaintiff was terminated from Defendant UOP (due to Defendants’ decision not to
retain and/or hire her) on or about lone 30, 2016.

27. Plaintiff believes and therefore avers that she was terminated and/or not retained

by Defendants because of her advanced age and/or because of her race.

 

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First Cause of Action
Violations of the Age Discrimination in Emplovmer_it Act (“ADEA”)

(Age Discrimination)
-Against Both Defendants-

28. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
fult

29. Whiie employed with Defendant UOP, under the supervision of Ms. Sparks,
Plaintift`, and other older workers, were subjected to discriminatory treatment (discnssed supra)
because of their advanced age.

30. ln or about May ot` 2016, Plaintiff was informed that Defendant Ararnark would
be the new service contractor for Defendant UOP starting on or about July 1, 2016.

31. in or about the Surarner of 2916, Plaintift` was informed that she had not been
retained and/or hired by Defendant Ararnark to work at Defendant UOP and she was not
provided with any logical or legitimate reason as to why she had not be retained and/or hire.

32. There were multiple other employees of SSC Service Solntions/Cornpass Group,
USA who were over the age of 40 and were also not retained despite their skilis, work ethic, and
seniority

33. Younger employees, who held the same or similar job as Plaintiff, were retained
and other younger individuals Were also hired from outside-SSC- Service 'S'olnut'ions/'Compass
Group, USA to till vacant positions that older employees of SSC Service Solutiorrs/Compass
Group, USA used to hoid.

34. Upon information and belief, Defendants did not consider seaiority, discipline, or

other neutrai criteria when making decisions regarding who to retain and/or terminated from SSC

Service Solutions/Compass Gronp, USA.

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35. Upon information and beiiet`, Defendant UOP, speciiically Ms. Sparl<s, directly
participated in the Defendant Ararnark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Solutions/Compass Group, USA when
Defendant Ararnark was awarded the services contract with Defendant UOP.

36. Plaintiif believes and therefore avers that she was not retained and/or hired with
Defendants because of her advanced age.

37. These actions as aforesaid constitute unlawfiii discrimination under the ADA.

Second Cause of Action
VioigtiMs of 42 U.S.C. 8 1981 (“Section l981”l
(Race Discrirnination)
-Against Both Defendants-

38. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
fuli

39. While employed with Defendant UOP under the supervision of Ms. Sparks,
Plaintiff, and other African-Arnerican (black) workers, were subjected to discriminatory
treatment (discussed supra) because of their race.

40. In or about May of 20i6, Plaintiff was informed that Defendant Aramark would
be the new service contractor for Defendant UOP starting orr or about fuly i, 2016.

41. In or about the Summer of 2016, Plaintiff was informed that she had not be
retained and/or hired by Defendant Ararnark to work at Defendant UOP and she was not
provided with any logical or legitimate reason as to why she had not be retained and/or hire.

42. There were multiple other employees of SSC Service Solutions/Compass Group,

USA who were also African-American (black) and were also not retained despite their skills,

work ethic, and seniority

 

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43. Non-black employees, who held the same or similar job as Plaintiff, were retained
and other non-black individuals were also hired from outside SSC Service Solutions/Cornpass
Group, USA to fill vacant positions that African~American (black) employees of SSC Service
Solutions/Compass Group, USA used to hold.

44. Upon information and belief, Defendants did not consider seniority, discipline, or
other neutral criteria when making decisions regarding who to retain and/or terminated from SSC
Service Solutions/Compass Group, USA.

45. Upon information and beiief, Defendant UOP, specifically Ms. Sparks, directly
participated in the Defendant Aramark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Soiutions/Cornpass Group USA when
Defendant Aramark was awarded the services contract with Defendant UOP.

46. Piaintiff believes and therefore avers that she was not retained and/or hired by
Defendants because of her race.

47. These actions as aforesaid constitute unlawful discrimination under Section 1981.

'I`hird Cause of Action

Vioiations of Title VII

(Race Discrimination)
-Agairist Both Defendants~

48. The foregoing paragraphs-are incorporated herein in their entirety as'if"set forth in
full

49. While empioyed with Defendant UOP under the supervision of Ms. Sparks,
ltlaintift`, and other African-Arnerican (black) workers, were subjected to discriminatory
treatment (discussed supra) because of their race.

50. In or about i\/Iay of 2016, Plaintift` was informed that Defendant Aramark would

be the new service contractor for Defendant UOP starting on or about July l, 2016.

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5l. In or about the Summer of 2016, Plaintiff was informed that she had not be
retained and/or hired by Defendant Aramark to work at Defendant UOP and she was not
provided With any logical or legitimate reason as to why she had not be retained and/or hire.

52. There were multiple other employees of SSC Service Solutions/Compass Group,
USA who were also Aii'ican-American (black) and were also not retained despite their skills,
work ethic, and seniority

53. Non-black employees, who held the same or similar job as Plaintiff, Were retained
and other non-black individuals were also hired from outside SSC Service Solutions/Cornpass
Group, USA to fill vacant positions that A:[i'ican-Arnerican (black) employees of SSC Service
Solutions/Cornpass Group, USA used to hold.

54. Upon information and belief, Defendants did not consider seniority, discipline, or
other neutral criteria when making decisions regarding who to retain and/or terminated from SSC
Service Solutions/Compass Group, USA.

55. Upon information and belief, Defendant UOP, specifically l\/Is. Sparks, directly
participated in the Defendant Ararnark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Solutions/Compass Group USA when
Defendant Ararnark was awarded the services contract with Defendant UOP.

56. Plaintift` believes and therefore avers that she was not retained and/or hired by
Defendants because of her race.

5 7. These actions as aforesaid constitute unlawfiil discrimination under Title VII.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendants are to promulgate and adhere to a policy prohibiting discrimination in

the future against any empioyee(s);

 

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B. Defendant are to compensate Plaintift`, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay
increases, bonuses, insurance, and benefits

C. Plaintiff is to be awarded actual damages, as well as damages for the pain,
suffering and humiliation caused by Defendants’ actions;

D. Plaintiff is to be awarded liquidated and/or punitive damages, as permitted by
applicable law(s) alleged asserted herein, in an amount believed by the Court or trier of fact to be
appropriate to punish Defendants for their willful, deliberate, malicious and outrageous conduct
and to deter Defendants or other employers from engaging in such misconduct in the future;

E. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appror- 'ite: and

F s to be awarded the costs and expenses of this action and a reasonable

attor ended by applicable federal and state law.

Respectfuliy submitted,

KARPF, KARPF & CERUTTI, P.C.

  

By: '/ ,,`M.
Ari R. Karpf,/Esq.
3331 S’tl'€€t Rd.
elag. 2, ste 128

Bensalern, PA 19020

Date: May 25, 2017

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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANI_A

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LAVERNA PEAY CIV!L ACTION
V. f
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the plaintiff and all other parties, a Case Management Traclc Designation Form specifying the track
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SELECT ONE OIt` THE FOLLOWING CASE MANAGEMENT TRACKS:

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and Human Services denying plaintiff Social Sccurlty Benelits. _ ( )

(c) Arbitraticn - Cases required to he designated for arbitration under Local Civil Rule 53.2. ( ')

(d) Ashestcs - Cases involving claims for personal injury or property damage from
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ARBITRATION CERTIFZCATION
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l. (o) PLAINTIFFS DEFENDANTS
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Karpf, Karpt` &. Ceruni, P.C., 3331 Strcet Ruad, Two Greenwood Square.
Suitc 128, Bcnsa|cm, PA 19020, (2]5) 639-0801, akarpf@km~pf-law.com

 

 

 

 

 

 

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E| 220 Fur:cluwr: Cl 441 Vollng 0 463A|icn D¢lnincc or Dcfendlnl) Ag:ncy Dcckion
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Y_iolations of the ADEA. Title VU. 42USC1 981 and the PHRA.

Vl. CAUSE OF ACTION

 

 

 

 

 

 

V!l. R.EQUESTED [N CJ cH§CK |1= TH|§ is A CLASS ACT[QN DEMAND 5 CHECK YES only lfdemandcd in complains
COMPLAINT: UNDER RL?LE IJ. F-R-Cv-F- JURY DEMAND: Bl ch Cl No
Vlll. RELATED CASE(S)
lF ANY 'F'° "‘""°"'"")" nunez . ,.` uocxa'r NUM:BER
DATE sIc;NATumz 0 A 0 RECO_RD
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R.ECE]PT 11 AMOL|'NT APPLYTNG lFP JUDGE M.AG.JUDUE

   

 

